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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORID A

   THEODORE DUKES
   LYNN SMITH
   BRIAN SCRUGGS                                              CASE NO .

         Plaintiffs ,
                                                              Magistrate Judge :

  V.

  MIAMI-DADE COUNTY ,
  OFFICER ERIC GOLDBERG, Individually,
  OFFICER KIMBERLY LLAMBES, Individually,
  OFFICER ENRIQUE GUERRA, Individually,
  OFFICER REGINA DEAN, Individually ,
  CHIEF CARLOS ALVAREZ, Individually, and
  JOHN DOE OFFICERS, Individually .

                  Defendants,




                                          COMPLAINT

       PLAINTIFFS, THEODORE DUKES, BRIAN SCRUGGS and LYNN SMITH by and throug h

  undersigned counsel , sue Defendants , MIAMI-DADE COUNTY, OFFICER ERIC GOLDBERG,

  Individually, OFFICER KIMBERLY LLAMBES, Individually, OFFICER ENRIQUE GUERRA,

  Individually, OFFICER REGINA DEAN, Individually . JOHN DOE OFFICERS . Individually and,

  CHIEF CARLOS ALVAREZ, Individually and allege :

                                INTRODUCTORY STATEMEN T

         1 . This is an action for damages sustained by citizens of the United States against MIAMI-

  DADE COUNTY, Florida, employee police officers of Miami -Dade County and the Chief of the

  Miami-Dade County Police Department . Officer Eric Goldberg unlawfully assaulted and battered

  PLAINTIFF DUKES with deadly force without justification and in violation of PLAINTIFF' s civil
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   rights . Officer Kimberly Liambes unlawfully assaulted and battered PLAINTIFF SMITH without

  justification and in violation of PLAINTIFF's civil rights . John Doe Officers unlawfully assaulted

   and battered PLAINTIFF SCRUGGS using excessive force in violation of PLAINTIFF SCRUGGS

   civil rights . Plaintiffs DUKES, SCRUGGS and SMITH also bring an action against Officer

   Kimberly Llambes, Officer Enrique Guerra, Officer Regina Dean, Officer Eric Goldberg and John

   Doe officers individually, for conspiring to cover up the wrongful shooting of DUKES and numerous

   incidents of excessive force that the named Defendants either participated in or witnessed in

   violation of the United States Constitution . Plaintiffs bring suit against Chief Carlos Alvarez as the

   supervisory officer responsible for the conduct, training and supervision of police officers under his

   charge . Defendant ALVAREZ failed to properly train police officers in the appropriate methods of

   detaining and arresting suspected citizens, and to adequately discipline and supervise officers in

   regards to their propensity to commit excessive force against the citizenry' and to have appropriate

   policies, procedures, and practices in place in regards to the appropriate methods of detaining

   individuals in vehicles when the officers who approach said citizens are in unmarked cars . Plaintiffs

   bring action against Miami-Dade County, Florida as the ultimate policy maker for the Miami-Dade

   Police Department (Hereinafter "Department") . DUKES also brings state torts against Miami-Dade

   County and the individual Officer Defendants for assault and battery, intentional infliction of

   emotional distress and malicious prosecution .

                                             JURISDICTION

           2 . This action is brought pursuant to 42 U .S .C . § 1983, the Fourth and Fourteenth

   Amendments of the United States Constitution and the laws of the State of Florida .

           3 . The jurisdiction of this Court is predicated on 28 U .S . C . §§ 1331 and 1342(a)(3) and

   the supplemental jurisdiction of this Court under 28 U .S .C . § 1367(a) .


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          4 . Venue is placed in the United States District Court for the Southern District of Florida

   because it is where all pa rt ies reside and where the events complained of occurred .

           5 . All conditions precedent to the maintenance of this action have been performed or have

   occurred prior to its institution including those set forth in Florida Statute Section 768 .28 .

                                                 PARTIE S

           6 . At all times material hereto THEODORE DUKES was and is a resident of Miami-Dade

   and at all times relevant hereto was sui juris (hereinafter "DUKES") .

           7. At all times material hereto LYNN SMITH was and is a resident of Miami -Dade and

   at all times relevant hereto was sui juris (hereinafter "SMITH") .

           8 . At all times material hereto BRIAN SCRUGGS ( hereinafter SCRUGGS) was and is a

   resident of Miami-Dade and at all times relevant hereto was sui juris ( hereinafter "SCRUGGS") .

           9. Defendant, Miami-Dade County (hereinafter "COUNTY"), is a political subdivision o f

   the State of Florida, a Florida municipal corporation , and, at all times relevant hereto , it employed

   Defendant OFFICERS and Police Chief CARLOS ALVAREZ in the DEPARTMENT .

           10 . At all times relevant hereto and in all actions described herein, Defendant , Officer ERIC

   GOLDBERG (hereinafter "GOLDBERG"), was acting under color of law as a police officer, an d

   in such capacity , as the agent , servant and employee of Defendant , COUNTY .

           11 . At all times relevant hereto and in all actions described herein , Defendant , Officer

   KIMBERLY LLAMBES (hereinafter "LLAMBES"), was acting under color of law as a police

   officer, and in such capacity , as the agent , servant and employee of Defendant . COUNTY .

           12 . At all times relevant hereto and in all actions described herein , Defendant , Officer

   ENRIQUE GUERRA ( hereinafter "GUERRA"), was acting under color of law as a police officer,

   and in such capacity , as the agent, servant and employee of Defendant , COUNTY .


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          13 . At all times relevant hereto and in all actions described herein, Defendant . Officer

  REGINA DEAN (hereinafter "DEAN"), was acting under color of law as a police officer, and in

  such capacity, as the agent, servant and employee of Defendant . COUNTY .

          14. At all times relevant hereto and in all actions described herein, Defendant, Officers

  JOHN DOES (hereinafter "DOES"), were acting under color of law as police officers, and in such

  capacity, as the agents, servants and employees of Defendant, COUNTY .

          15 . At all times relevant hereto, Defendant, CARLOS ALVAREZ (hereinafter

  "ALVAREZ"), was the duly appointed Chief of Police of the DEPARTMENT . As such, he was the

  commanding officer of Defendant Officers, and was responsible for their training, supervision and

  conduct . He was also responsible for enforcing the regulations of the DEPARTMENT and for

  ensuring that the police personnel of the DEPARTMENT obey the laws of the State of Florida and

  the United States of America . At all times relevant hereto, Defendant, ALVAREZ, was acting in

  such capacity as the official Head of the DEPARTMENT for Defendant COUNTY .

                                      FACTUAL ALLEGATION S

          16. On October 1 1, 2001, DUKES received a call from his friend, SCRUGGS requesting

  DUKES drive himself and his girlfriend, SMITH to a local grocery store . DUKES agreed and drove

  his white Honda Civic to the residence . SCRUGGS entered DUKES' car and sat in the front

  passenger seat . SMITH rode in the rear and the parties drove to a local store .

          17 . After DUKES left the store, DUKES proceeded to drive eastbound on NW 62 " Street .

  Unbeknownst to DUKES, LLAMBES was following him and had made a determination that she was

  going to make a traffic stop for a license tag violation .

          18 . LLAMBES radioed in to GOLDBERG and GUERRA to assist in the traffic stop . All

  these officers were on robbery detail and part of a specialized unit called the Robbery Interdictio n


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  Unit and none of them were in a marked vehicle . All of the vehicles that were driven by the officers

  conducting the stop on DUKES were normal rental vehicles without any police markings .

          19. LLAMBES, by the use of radio communication discovered that GOLDBERG was also

  proceeding east on NW 62"d Street and approaching the intersection of NW 15`h Avenue .

  GOLDBERG sped past DUKES' vehicle and placed his vehicle directly in front of DUKES . As

  DUKES approached NW 15`h Avenue, GOLDBERG stopped his vehicle and backed his vehicle up

  as if he was going to impact DUKES' vehicle. LLAMBES then pulled up behind and angled her

  vehicle past the rear of DUKES' vehicle in an attempt to box DUKES in . GUERRA also brought

  up his vehicle to complete the boxing of DUKES' vehicle .

          20. As the officers were engaged in their confining maneuvers, all of the occupants of

  DUKES' vehicle believed that they were about to be carjacked . The suspicions of DUKES and his

  passengers were confirmed when GOLDBERG, in plain clothes, exited his vehicle with his gun

  drawn and pointing at DUKES' vehicle .

          21 . GOLDBERG exited the vehicle, holding his body low and his hand high exposing a gun

  which he pointed towards DUKES' vehicle, placing all of the occupants therein in fear for their lives .

          22 . Fearing for his life and the lives of his passengers, DUKES turned the steering wheel o f

  his vehicle to the left and began to move from behind Goldberg's vehicle to extricate his vehicle

  from the blockade that had been set by GOLDBERG, LLAMBES and GUERRA .

          23 . As DUKES began moving his vehicle, Officer GOLDBERG fired his weapon through

  the passenger side window . The round missed the passenger SCRUGGS but hit the driver DUKES

  in the chest.

          24. After the shot was fired, SCRUGGS informed DUKES that he had been shot . DUKES

  then noticed blood on his shirt and realized that he had been wounded . SMITH was screaming i n


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  the back seat of the vehicle in fear that she might be the next victim . DUKES decided that he had

  to avoid further injury from the shooter, that he needed immediate attention and that he had to protect

   his passengers . He concluded that he had to leave the area immediately and drive himself to Jackson

   Memorial Hospital to receive emergency treatment . DUKES continued turning his car to the left and

  managed to break free from the officers rental vehicles and proceeded east on 62"d Street .

          25 . Still at this time, none of the occupants realized that their assailant was a police officer .

  At no time during the stop of DUKES did the officers identify themselves as such with the use of

  emergency equipment or other identifying materials that would have clearly indicated that they were

  officers, to the occupants of the DUKES vehicle .

          26 . Shortly after extricating themselves from the police gauntlet, DUKES began going in and

  out of consciousness . As the vehicle continued proceeding eastbound, SCRUGGS began steering

  the vehicle and placed his foot on the gas attempting to assist in their escape from their then

  unknown assailants .

          27 . As the vehicle approached NW 7`h Avenue, the occupants for the first time noticed that

  there were vehicles following them and that the vehicles had blue lights flashing from their

  dashboard area . At no time prior to shooting DUKES, nor immediately after did any of the officers

  identify themselves as police officers to the occupants of the DUKES vehicle .

          28. Once the occupants realized that they were being followed by police and not carjackers,

  DUKES and SCRUGGS turned the car onto NW 7`h Avenue and pulled the car to the side of the

  road . DUKES, while bleeding profusely from his gunshot wound and still barely conscious, got out

  of the driver's side of the car and raised both his arms and hands in the surrender position,

  demonstrating that he was unarmed . SMITH and SCRUGGS also exited the vehicle and raised their

  hands in surrender as well .


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           29 . As PLAINTIFF DUKES exited the vehicle with his hands up, defendant officers exited

  their vehicles and rushed the prone PLAINTIFF DUKES . As the officers approached DUKES, he

  asked them why did they shoot him . The officers responded by slamming the already wounded

  PLAINTIFF to the floor and began stomping and kicking him in a frenzy of police brutality in full

  view of citizens who were observing this activity . The officers that committed excessive force

  against PLAINTIFF DUKES are GUERRA, DEAN, GOLDBERG, LLAMBES and the JOHN DOE

  officers .

           30. LLAMBES charged the surrendering SMITH and without justification or any resistance

  from SMITH, slammed SMITH to the ground with great force causing SMITH to cry out in pain .

  LLAMBES placed her knees into SMITH's back and placed extreme pressure on SMITH causing

  her to loose control of her bladder . SMITH complained to LLAMBES that she was in extreme pain

  but LLAMBES did not cease in placing SMITH in pain for the sole purpose of punishing SMITH .

           31 . SCRUGGS, had also exited the car upon it being stopped . SCRUGGS placed his body

  in a position of surrender to the approaching officers indicating that he was unarmed and not a threat

  to any officers . SCRUGGS was slammed to the ground by a JOHN DOE officer who proceeded to

  beat SCRUGGS with the butt of his gun . As SCRUGGS was laying on the ground he continued to

  be struck by JOHN DOE officers even though he was not resisting .

           32 . The beating of DUKES continued and was of an extensive duration and so intense that

  numerous bystanders screamed for the officers to stop the beating fearing that the officers would kill

  DUKES . None of the officers present made any move to stop the continued constitutional violations

  that were occurring against DUKES, SCRUGGS and SMITH . The actions of DEFENDANT

  OFFICERS violated clearly established and well-settled federal constitutional rights of

  PLAINTIFFS .


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          33 . One citizen protested vociferously and was unable to continue watching the beating of

   DUKES . The citizen took a step towards the beating scene and was arrested for allegedly interfering

   with police procedures .

          34. DUKES laid on the street for 30 minutes before any rescue personnel ever came to

   DUKES' aid . DUKES was then transported to Jackson Memorial Hospital where emergency trauma

   procedures were performed which entailed cracking open DUKES' chest in an attempt to repair the

   large amount of internal damage the bullet caused .

          35 . When DUKES regained consciousness, he realized that he was handcuffed to the bed

   and facing felony criminal charges of attempted murder of a police officer and fleeing and eluding

   the police . Defendant officers had concocted a story that during DUKES' escape from the officers

   gauntlet that LLAMBES was endangered and that GUERRA fired to protect LLAMBES from

   PLAINTIFF's vehicle .

          36. GOLDBERG, GUERRA, LLAMBES and DEAN lied and conspired in their official

   rendition of the facts in order to protect GOLDBERG from being the object of a wrongful shooting

   investigation and to cover up their improper stop of the DUKES' vehicle and to protect themselves

   from any investigation into their improper procedures and criminal conduct . The actions of

   DEFENDANT OFFICERS violated clearly established and well-settled federal constitutional rights

   of PLAINTIFFS .

          37 . SMITH and SCRUGGS were taken into police custody and questioned for some ten (10)

   hours . During that time SMITH complained to the officers holding her that she was in pain and

   needed medical treatment . SMITH's complaints were ignored and she was released from police

   custody without any medical attention .

          38 . SMITH went to her home where she lay in pain for days . She was able to convinc e


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  someone to take her to the hospital where she was treated for abdominal pain and trauma due to the

  excessive force applied to her by LLAMBES and other JOHN DOE officers .

          39. DUKES was criminally charged with attempted murder of a police officer and fleeing

  and eluding a police officer. He was retained in custody for a period of nine months, without bond

  before he was able to procure a bond through the efforts of his criminal defense attorney . The state

  attorney after their review of the case filed an information charging aggravated battery, fleeing and

  eluding a police officer and resisting arrest without violence . Later the State Attorney's Office

  amended the Information a second time charging Dukes with aggravated assault on a police officer,

  fleeing and eluding a police officer and resisting without violence . After a criminal trial before his

  peers, Plaintiff was found not guilty on the charge of aggravated assault and guilty for fleeing a

  police officer. The trial judge sentenced DUKES to one year in jail .

                           ADDITIONAL FACTS AGAINST COUNT Y

         40. COUNTY failed to have policies established that clearly delineate the procedures

  necessary to ensure that stops undertaken by undercover police officers will not lead to citizens

  believing that they are being robbed by criminals . Officers of COUNTY engage in a pattern and

  practice of surrounding and stopping vehicles in unmarked cars, in such a manner that it is not

  readily apparent that they are police officers, thereby causing the populace to react with fear and

  leading to the unnecessary escalation of events that results in the citizenry being injured in an

  unconstitutional manner by overzealous and poorly trained Officers of COUNTY .

         41 . Specialized units within COUNTY have exercised a practice and custom of effectuating

  vehicle stops with techniques of their own design independent of written policy and thereby have

  made their practices and customs defacto policy of COUNTY . These customs and practices lead to

  an escalation of actions that then cause officers to use excessive or deadly force in situations tha t


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   would have been resolved non-violently had proper police procedure been followed . The

   unnecessary escalation of events caused by improper procedures , practices and customs of COUNTY

   creates constitutional violations against the citizen ry and thereby injury and on occasion death where

   neither of these results need occur .

           42. COUNTY through its Officers engages in a pattern and practice of not using identifying

   equipment during their undercover traf fic stops causing fear within the populace in general and

   DUKES in particular which leads to Officers of COUNTY overreacting to members of the populace

   to the point where COUNTY violates the constitutional rights of the citizenry in general and the

   PLAINTIFFS in pa rticular .

          43 . COUNTY has a pattern , practice and custom of shooting into vehicles and at individuals

   without having properly identified a target causing the proliferation of bullets into unidentified areas

   and causing the bullets to impact and/or endanger innocent individuals . COUNTY condones such

   violations of policy by not disciplining officers that engage in such indiscriminate shootings causing

   constitutional violations to be perpetrated against the public and against PLAINTIFFS in part icular.

          44. Defendant COUNTY failed to discipline or prosecute known incidents of excessive use

   of force , to investigate complaints of excessive use of force , and to overrule the conclusions within

   the Depa rtment in spite of the overwhelming evidence that such incidents were unjustified an d

   improper .

          45 . On information and belief, the abuse to which PLAINTIFFS were subjected was

   consistent with an institutionalized practice of the DEPARTMENT, which was known to and ratified

   by Defendant , ALVAREZ, and Defendant , COUNTY, and neither took any effective action to

   prevent Defendants , GOLDBERG, LLAMBES, GUERRA . DEAN and JOHN DOES, from

   continuing to engage in such misconduct.


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          46. On information and belief, Defendants , ALVAREZ and COUNTY, had prior notice of

  the vicious propensities of Defendants , GOLDBERG, LLAMBES, GUERRA, DEAN and JOHN

   DOES , but took no steps to correct their abuse of authority or to discourage their unlawful use of

   authority . The failure to properly train Defendants , GOLDBERG, LLAMBES, GUERRA, DEAN

  and JOHN DOES, includes the failure to instruct them in the applicable rules and regulations of the

  Department concerning the proper and prudent use of force and proper detention techniques of

  vehicles .

          47. On information and belief, Defendants , ALVAREZ and COUNTY, authorized , tolerated

  as institutionalized practices and ratified the misconduct detailed above by :

          a. Failing to properly discipline , restrict and control employees , including Defend ants.

                 GOLDBERG, LLAMBES, GUERRA, DEAN and JOHN DOES, who were known

                 to be reckless in their dealings with black citizens of the community ;

          b . Failing to establish and/or endure the functioning of a bonafide and me an ingful

                 departmental system for dealing with complaints of police misconduct , instead of

                 responding to such complaints with bureaucratic power and official denials

                 calculated to mislead the public .

          48 . As a direct and proximate result of the deliberate indifference of COUNTY . to prevent

  or change unconstitutional policies, customs and practices , PLAINTIFFS DUKES SCRUGGS and

  SMITH suffered the following injuries and damages :

          a. Violation of their constitutional rights under the Fou rth and Fourteenth Amendments

                 to the United States Constitution to be free from an unreasonable search and seizure

                 of their person , to be afforded due process of law and equal protection under the law ;

          b . Loss of physical libe rty; and


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           c . Severe physical injury , causing humiliation , emotional distress , pain and suffering,

                    substantial medical and other out-of-pocket expenses , and future medical expenses .

           49. As a direct and proximate result of the actions of Defendants, GOLDBERG,

   LLAMBES , GUERRA, DEAN, JOHN DOES , ALVAREZ and COUNTY, the following clearly

   established and well-settled federal constitutional rights of DUKES , SCRUGGS and SMITH were

  violated :

           a. Freedom from an unreasonable search and seizure ;

           b. Freedom from the use of excessive , unreasonable and unjustified force against his

                    person ; an d

           c . Equal Protection under the law ;

           d . Due process of law .

                                                 COUNT I

   (Violation of Civil Rights While Acting Under The Color of Law 42 U .S.C. § 1983 - Against
              Defendant COUNTY on behalf of DUKES, SMITH and SCRUGGS )

           50. PLAINTIFFS repeat and reallege Paragraphs I through 49 , and incorporate them by

  reference herein .

           51 . This cause of action is brought by DUKES, SMITH and SCRUGGS , against Defend ant

  COUNTY, for deprivation by its agents , servants, or employees namely, Defendants LLAMBES,

  GUERRA, GOLDBERG , DEAN and JOHN DOES , of constitutional rights within the meaning of

  42 U .S. C . § 1983 .

          52 . Defendants LLAMBES, GUERRA, GOLDBERG, DEAN, and JOHN DOES . were

  acting under the color of law, as authorized agents of Defendant COUNTY. while arresting DUKES,

  SCRUGGS and SMITH in the furtherance of their duties .



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           53 . The constitutional deprivation was caused by Defendant COUNTY' s numerous areas

   of deliberate indifference as outlined in I through 49 above including :

           a) custom of condoning alleged instances of police brutality without punishin g

   its officers. The above mentioned actions were not isolated incidents . Defendant COUNTY has a

   histo ry of exonerating officers for allegedly using excessive force against its citizens . Officers

   within the Depa rtment are secure in knowing that a repo rted incident will not result in any

   disciplinary proceeding unless another officer can verify that the force was excessive . COUNTY,

   condones an officer 's action even when other non -police witnesses have complained that the force

   used was excessive . Prior to October It, 2001, Defendant COUNTY permitted and tolerated the

   practice of unjustified and unreasonable uses of excessive force by its officers under the color of law .

           b) failure to have officers appropriately trained in the proper interdiction procedures for

   vehicles. These failures lead to constitutional violations being perpetrated upon the citizenry .

           c) improper use of force training and supervision which allows and permits the firing of

   weapons into moving vehicles without just cause and without the ability to identify a target .

           d) failure to have clear policies , customs and practices that require plain clothed police

   officers to identify themselves as such to members of the public to prevent said public from believing

   the officers are criminals .   Such misidentification allows the citizenry to panic and cause an

   unnecessary escalation of events, leading to constitutional violations upon the citizenry .

           54. The above described actions of LLAMBES, GOLDBERG, GUERRA, DEAN, and the

   JOHN DOES , the policies of Defendant COUNTY and the practices condoning the use of excessive

   force while agents, servants , or employees of Defendant COUNTY, deprive DUKES, SCRUGGS

   and SMITH of rights and privileges under the Fourth, and Fou rteenth Amendments to the United

   States Constitution .


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           55. Defendants LLAMBES, GOLDBERG , GUERRA, DEAN, and the JOHN DOES,

   violated PLAINTIFFS ' civil rights by brutalizing and inflicting severe injury on DUKES,

   SCRUGGS and SMITH under the color of law with force that was grossly dispropo rt ionate in

   relation to the need for action .

           56 . As a direct and proximate result of the above -mentioned unconstitutional acts of

   Defendants , while agents, servants , or employees of Defendant COUNTY . the unconstitutional

   policies customs and practices of Defendant COUNTY, DUKES, SCRUGGS and SMITH sustained

   severe physical injury, causing humiliation , emotional distress , pain and suffering , has incurred

   substantial medical and other out-of-pocket expenses, and will continue to incur medical expenses .

           WHEREFORE , DUKES, SCRUGGS and SMITH , prayerfully request that this Honorable

   Cou rt grant the following relief against the Defendants :

          A . Award compensatory damages ,

          B . Award reasonable attorney's fees and costs pursuant to 42 U .S.C. §1988; and

          C . Award such other and further relief as this Honorable Cou rt deems just .

                                                COUNT I I

   (Violation of Civil Rights While Acting Under The Color of Law 42 U .S.C. § 1983 -Against
      Defendant ALVAREZ Individually on behalf of DUKES , SMITH and SCRUGGS )

          57. PLAINTIFFS repeat and reallege Paragraphs I through 49, and incorporate them by

  reference herein .

          58 . This cause of action is brought by DUKES, SCRUGGS and SMITH , against defendant,

  ALVAREZ, for deprivation of constitutional rights within the meaning of 42 U .S.C. § 1983 .

          59. Defendant ALVAREZ was the Chief of Police for the COUNTY and as such wa s

  responsible for the implementation and promulgation of official policy for the DEPARTMENT .



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            60. ALVAREZ was deliberately indifferent to the need for adequate training and supervision

   for his police officers, the failure of which caused constitutional violations upon the citizenry in

   general and DUKES, SCRUGGS and SMITH in particular .

            61 . The constitutional deprivations caused by ALVAREZ's numerous areas of deliberate

   indifference as outlined in 1 through 49 above include :

            a) a custom of condoning alleged instances of police brutality without punishing its officers .

   The above mentioned actions were not isolated incidents . ALVAREZ has a history of exonerating

   officers for allegedly using excessive force against its Black citizens . Officers within the Department

   are secure in knowing that a reported incident will not result in any disciplinary proceeding unless

   another officer can verify that the force was excessive . ALVAREZ condones an officer's action

   even when other non-police witnesses have complained that the force used was excessive . Prior to

   October 11, 2001, ALVAREZ permitted and tolerated the practice of unjustified and unreasonable

   uses of excessive force by its officers under the color of law .

            b) ALVAREZ failed to have officers appropriately trained and supervised in the proper

   interdiction procedures for vehicles . These failures lead to constitutional violations being

   perpetrated upon the citizenry .

           c) ALVAREZ condoned improper use of force training and supervision which allowed

   and permitted the firing of weapons into moving vehicles without just cause and without the ability

   to identify a target .

           d) ALVAREZ failed to have clear policies customs and practices that require plain clothed

   police officers to identify themselves as such to members of the public to prevent said public from

   believing the officers are criminals . Such misidentification allows the citizenry to panic and cause

   an unnecessary escalation of events, leading to constitutional violations upon the citizenry in genera l


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   and DUKES, SCRUGGS and SMITH in particular .

          62. As a direct and proximate result of the above-mentioned unconstitutional acts of

   Defendant, ALVAREZ, PLAINTIFFS DUKES, SCRUGGS and SMITH sustained severe physical

   injury, causing humiliation, emotional distress, pain and suffering, have incurred substantial medical

   and other out-of-pocket expenses, and will continue to incur other medical expenses .

          WHEREFORE, DUKES, SCRUGGS and SMITH, prayerfully request that this Honorable

   Court grant the following relief against the Defendant :

          A . Award compensatory damages ,

          B . Award reasonable attorney's fees and costs pursuant to 42 U .S .C . § 1988 ; and

          C . Award such other and further relief as this Honorable Court deems just .

                                               COUNT II I

       (Conspiracy to Interfere with Civil Rights In Violation of 42 U.S .C . §1983 - Against
        Defendants LLAMBES GOLDBERG, GUERRA, DEAN and the JOHN DOES,
                 individually , on behalf of DUKES, SMITH and SCRUGGS )

          63 . Plaintiffs repeat and reallege Paragraphs I through 49 , and incorporates them by

  reference herein .

          64. This cause of action is brought by DUKES, SCRUGGS and SMITH against

   GOLDBERG , LLAMBES, GUERRA, DEAN and the JOHN DOES, for conspiracy to interfere with

  DUKES , SCRUGGS and SMITH ' s constitutional rights to be free from unjustified and excessive

  force utilized by police officers , as guaranteed by the Fourth , and Fou rteenth Amendments to the

  United States Constitution .

          65 . Defendants GOLDBERG, LLAMBES, GUERRA, DEAN and the JOHN DOES have

  entered into an agreement for the purpose of depriving DUKES, SCRUGGS and SMITH of their

  constitutionally protected rights by utilizing excessive use of force while acting under color of la w


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   in their capacity as police officers employed by Defendant COUNTY .

           66 . Each of the Defendants , GOLDBERG , LLAMBES . GUERRA, DEAN and the JOHN

   DOES , have knowledge of the nature and scope of the agreement and agreed to fabricate an official

   version of events to conceal their constitutional violations of DUKES , SCRUGGS and SMITH .

           67. In furtherance of the conspiracy , GOLDBERG, LLAMBES , GUERRA, DEAN and the

   JOHN DOES inflicted severe inju ry upon DUKES, SCRUGGS and SMITH , while exercising their

   official authority under the color of law .

           68 . The acts of Defendants GOLDBERG, LLAMBES, GUERRA, DEAN and the JOHN

   DOES were part of an on-going practice of the conspirators to utilize excessive use of force with full

   knowledge that their actions would be exonerated .

           69. The acts of Defendants GOLDBERG, LLAMBES , GUERRA . DEAN and the JOHN

   DOES were carried out for the very purpose of depriving DUKES , SCRUGGS and SMITH of the

   equal protection of the laws and or equal privileges and immunities under the law and to expressly

   violate PLAINTIFFS rights to be free from unreasonable search and seizure and from excessive force

   as defined in the Fou rth Amendment of the United States Constitution .

          70 . As a direct and proximate consequence of the conspiracy of Defendants GOLDBERG .

   LLAMBES , GUERRA, DEAN and the JOHN DOES, DUKES, SCRUGGS and SMITH sustained

   severe physical inju ry, humiliation , emotional distress , pain and suffering , incurred subst an tial

   medical and other out-of-expenses , and will continue to incur medical expenses .

          WHEREFORE , DUKES, SCRUGGS and SMITH, prayerfully request that this Honorable

   Court grant the following relief against the Defendants GOLDBERG , LLAMBES, GUERRA, DEAN

   and the JOHN DOES :

          A . Award compensato ry damages,


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           B. Award reasonable attorney's fees and costs pursuant to 42 U .S .C . §1988;

           C. Award punitive damage s

           D. Award such other and further relief as this Honorable Cou rt deems just .

                                                COUNT I V

   (Violation of Civil Rights While Acting Under The Color of Law 42 U.S.C. § 1983 - Against
                   Defendant GOLDBERG, individually on behalf of DUKES)

           71 . Plaintiff repeats and realleges Paragraphs I through 49, and incorporates them by

   reference herein .

           72 . This cause of action is brought by DUKES, against Defendant GOLDBERG for his

   willful, wanton and malicious use of excessive force under color of law that deprived Plaintiff of

   constitutionally protected rights under the Fourth, and Fourteenth Amendments to the United States

   Constitution .

           73 . Defendant GOLDBERG violated Title 42 U .S.C. § 1983 by inflicting severe injury upon

   DUKES that was grossly disproportionate to the force necessary to arrest Plaintiff in violation of his

   rights under the Fourteenth Amendments to the U .S . Constitution .

           74. Defendant GOLDBERG, while acting in his capacity as a police officer for COUNTY

  and under the color of law, did willfully, maliciously and intentionally use excessive deadly force

  to arrest DUKES for an alleged traffic infraction .

           75 . The intentional, willful and wanton acts of Defendant GOLDBERG establishes a claim

  for punitive damages by DUKES against Defendant GOLDBERG .

           WHEREFORE, DUKES prayerfully requests that this Honorable Court grant the following

  relief against the Defendant GOLDBERG :

           A. Award compensatory damages,



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           B . Award reasonable attorney's fees and costs pursuant to 42 U .S .C . § 1988,

           C . Award punitive damages ; an d

           D. Award such other and further relief as this Honorable Court deems just .

                                                 COUNT V

   (Violation of Civil Rights While Acting Under The Color of Law 42 U.S.C. § 1983 - Against
            JOHN DOES, individually on behalf of DUKES, SMITH and SCRUGGS)

           76 . Plaintiffs repeat and reallege Paragraphs I through 49, and incorporates them by

   reference herein .

           77 . This cause of action is brought by DUKES, SCRUGGS and SMITH, against Defendants

   JOHN DOES for their willful, wanton and malicious use of excessive force under color of law that

   deprived Plaintiff of constitutionally protected rights under the Fourth, and Fourteenth Amendments

   to the United States Constitution .

           78 . Defendants JOHN DOES violated Plaintiffs' Fourth and Fourteenth Amendment rights

   to the U .S . Constitution by inflicting severe injury upon Plaintiffs that was grossly disproportionate

   to the force necessary to arrest DUKES, SCRUGGS and SMITH .

           79 . Defendants JOHN DOES, while acting in their capacity as police officers for COUNTY

   and under the color of law, did willfully, maliciously and intentionally use excessive force to arrest

   DUKES, SCRUGGS and SMITH for an alleged traffic infraction .

           80 . The intentional, willful and wanton acts of Defendant JOHN DOES establishe a claim

   for punitive damages by DUKES, SCRUGGS and SMITH against Defendant JOHN DOES .

           WHEREFORE, DUKES and SCRUGGS and SMITH, prayerfully request that thi s

   Honorable Court grant the following relief against the Defendants JOHN DOES :

           A. Award compensatory damages,



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           B . Award reasonable attorney's fees and costs pursuant to 42 U .S .C . §1988,-

           C . Award punitive damages ; an d

           D. Award such other and further relief as this Honorable Court deems just .

                                                 COUNT V I

    (Violation of Civil Rights While Acting Under The Color of Law for Failure to Intervene
   Under 42 U .S .C. § 1983 - Against Defendants GOLDBERG, GUERRA, LLAMBES, DEAN
       and the JOHN DOES, individually , on behalf of DUKES, SMITH and SCRUGGS )

           81 . Plaintiffs repeat and reallege Paragraphs I through 49, and incorporate them by

   reference herein .

           82 . This cause of action is brought by DUKES, SCRUGGS and SMITH, against Defendants

   GOLDBERG, GUERRA, LLAMBES, DEAN and the JOHN DOES for their failure to intervene to

   prevent fellow officers from violating the constitutional rights of DUKES, SCRUGGS and SMITH .

   Law enforcement officers have an affirmative duty to intervene when the officer is aware of

   constitutional violations in their presence and fails to take reasonable steps to protect the victim of

   another officer's use of excessive force .

           83 . The JOHN DOES, GOLDBERG, GUERRA, LLAMBES and DEAN failed to prevent

   excessive force from being committed against DUKES, SCRUGGS and SMITH when they had a

   reasonable opportunity to do so . The Defendants failure to intervene is a violation of the Fourth

   Amendment and as such is actionable under 42 U .S .C . § 1983 .

           84 . The intentional, willful and wanton acts of Defendants GOLDBERG, GUERRA .

   LLAMBES, DEAN and the JOHN DOES establish a claim for punitive damages by DUKES,

   SCRUGGS and SMITH against Defendants .

           WHEREFORE, DUKES and SCRUGGS and SMITH, prayerfully request that this

   Honorable Court grant the following relief against the Defendants GOLDBERG, GUERRA ,


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   LLAMBES, DEAN and the JOHN DOES :

           A . Award compensatory damages ,

           B . Award reasonable attorney's fees and costs pursuant to 42 U .S.C . § 1988 :

           C . Award punitive damage s

           D. Award such other and further relief as this Honorable Court deems just .

                                               COUNT VI I

             (Assault and Battery Against Defendant COUNTY, on behalf of DUKES )

           85 . DUKES repeats and realleges Paragraphs 1 through 49, and incorporates them by

   reference herein .

           86 . Defendant COUNTY through its employees, GOLDBERG, GUERRA, LLAMBES,

   DEAN and the JOHN DOES, intentionally caused bodily harm to DUKES by using deadly force

   upon his person, slamming DUKES body and face into the ground and stomping him with their feet .

           87 . The actions of GOLDBERG, GUERRA, LLAMBES, DEAN and the JOHN DOES

   arouse fear in the person of DUKES . The aforementioned assault and battery was accomplished

   without the consent and against the will of DUKES .

           88 . PLAINTIFF has complied with the notice provisions of Florida Statutes Section 768 .28

   which is a condition precedent to the filing of a state tort against COUNTY .

           89 . Defendant COUNTY is vicariously liable for the tortuous acts of its employees that were

   committed within the scope and furtherance of their employment .

           90 . As a direct and proximate consequence of the acts of COUNTY through its'employees,

   GOLDBERG, GUERRA, LLAMBES, DEAN, and the JOHN DOES, DUKES sustained severe

   physical injury, humiliation, emotional distress, pain and suffering, incurred substantial medical and

   other out-of-pocket expenses, and will continue to incur medical expenses .


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           WHEREFORE, DUKES prayerfully requests that this Honorable Court grant the followin g

   relief against the Defendants .

           A. Award compensatory damages ,

           B. Award such other and further relief as this Honorable Court deems just .

                                              COUNT VIII

       (Intentional Infliction Of Emotional Distress Against Defendant County on Behalf of

                                                DUKES)

           92 . DUKES repeats and realleges Paragraphs I through 49, and incorporates them by

   reference herein .

           93. Defendant COUNTY through its employees, GOLDBERG, GUERRA, LLAMBES,

   DEAN and the JOHN DOES, intentionally caused bodily harm to DUKES when they knew or

   should have known that emotional distress would likely result .

           94. The conduct of COUNTY through its employees, GOLDBERG, GUERRA, LLAMBES,

   DEAN and the JOHN DOES, was outrageous, that is, as to go beyond all bounds of decency . and

   to be regarded as odious and utterly intolerable in a civilized community .

           95 . The conduct of COUNTY, thought its employees, GOLDBERG, GUERRA, LLAMBES,

   DEAN and the JOHN DOES, caused severe emotional distress .

           96. DUKES has complied with the notice provisions of Florida Statute 768 .28 which is a

   condition precedent to the prosecution of state torts against COUNTY .

          WHEREFORE, DUKES prayerfully requests that this Honorable Court grant the following

   relief against the Defendant .

          A . Award compensatory damages ,

          B . Award such other and further relief as this Honorable Court deems just .


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                                           COUNT I X

   (MALICIOUS PROSECUTION Against Defendants GOLDBERG, GUERRA, LLAMBES
                    and DEAN on behalf of Plaintiff DUKES )

           97. DUKES repeats and realleges Paragraphs I through 49, and incorporates them by

   reference herein .

           98. DUKES was arrested on October 1 1, 2001, and falsely charged with attempted murder

   based on the sworn testimony of GOLDBERG, GUERRA, LLAMBES and DEAN . The false

   testimony that DUKES placed the life of LLAMBES in danger caused legal proceedings to be

   instituted by the State of Florida against DUKES .

          99. These legal proceedings were instituted by the Defendants through their false testimony

   in arrest affidavits, internal affairs investigations, and through pre-file conference testimony with the

   State Attorney's Office . DUKES was placed in legal jeopardy by being forced to prove his

   innocence of said charge through a trial before a duly constituted jury .

           100 . After the empaneled jury heard all the testimony and evidence presented on said charge,

   DUKES was acquitted of the reduced charge of aggravated assault of a police officer .

           101 . That the entire proceeding for attempted murder, which was later reduced to aggravated

  assault against a police officer, instituted against DUKES lacked probable cause and was based

  entirely on fabricated testimony of sworn officers of the law namely, GOLDBERG, GUERRA,

  LLAMBES and DEAN .

          102 . That the institution of the attempted murder proceeding against DUKES was done with

   malice, designed to put DUKES in prison for a crime he never committed and to cover up the

  wrongful shooting of DUKES perpetrated by GOLDBERG .

          103 . The malicious prosecution of DUKES by GOLDBERG, LLAMBES, DEAN an d



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   GUERRA caused DUKES to be incarcerated pre-trial without bond for a period of approximately

   nine months, face the possibility of a long prison term, extensive mental and emotional damage, and

   damage to DUKES reputation .

           WHEREFORE, DUKES prayerfully requests that this Honorable Court grant the following

   relief against the Defendants :

          A . Award compensatory damages ,

          B. Award such other and further relief as this Honorable Court deems just .


                                     DEMAND FOR JURY TRIA L

          Plaintiffs demand trial by,jury on all issues so triable.


                                                  Respectfully Submitted ,

                                                         o A- lm mS //ft1Os
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                                                  Coral Gables , Florida
                                                  (305) 443 -6163 phone
                                                  (305) 441-2662 fax
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                                                  305-576-1106 ( facsimile)
                                                  rmatos@,aclufl .org



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         Case 1:05-cv-22665-PCH Document 1 Entered on FLSD Docket 10/11/2005 Page 25 of 25
%JS 44 (Rev . 11/04)                CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the tiling and sere i p                                       ties or o%er a as re~utr 'r la~w except as provided
by local rules ofcourt . This form, approved by the Judicial Conference of the United States in September 1974 . t ar t n                                     r tMwlse gYft e rk Q o ter the purpose of initiatin g
the civil docket sheet . (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM)                                                                               t

 1 . (a) PLAINTIFFS                                                                                                      DEFENDANT S
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    (b) Coun ty of Residence of First Listed Plaintiff
                                 (EXCEPT IN U S PLAINTIFF CASES )
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    (C) Attorney' s (Finn Name . Address . and Telephone Number)                                                                TRAIT OF LAND I\\OL\ ED .


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   (U) Check County Where Action Arose                            Ti MONROE                      Ti BROWARD    Ti PALM REACH Ti MARTIN 71 ST LUCIE Ti INDIAN RIV ER                     Ti OKEECHOBEE HIGHLANDS

II . BASIS OF JURISDICTION                            ( Place an "N" in one Box Only )                        III . CITIZENSHIP OF PRINCIPAL PARTIES( Placean ..Xin One Box for Plantit'f
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IV . NATURE OF SUIT                      Place an "N" in One Box Only
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Ti 210 Land Condemnation              Ti 441 Voting                      Ti 510 Motions to Vacate                Ti 790 Other Labor Litigation       1 870 Taxes (I' S PlaintilT       Ti    893 Ens iromnental Matters
Ti 220 Foreclosure                    Ti 442 Employment                                  Sentence                (7 791 Empl Ret Inc                           or Defendant)           Ti    894 F-- 1,11-anon Ac t

Ti 230 Rent Lease & Ejectment         Ti 443 Housing/                             Habeas C orpus :                      Security Act                     Ti 871 IRS--Third Pam         Ti    895 Freedom of Infomtatio n
Ti 240 Torts to Land                         Accommodations            Ti         530 General                                                                  26 CSC 7609                      Ac t
Ti 245 Tort Product Liability         Ti 444 Welfare                   Ti         535 Death Penalty                                                                                    71    900Appe d of Fee Determination
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                             (Place an "X" in One Box Only )                                                                                                                                            Appeal to District
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VI . CAUSE OF ACTIO N
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VII . REQUESTED IN                         0 CHECK IF THIS IS A CLASS A("PION                                      DEMAND S                                        CHECK YES only it error din complaint
      COMPLAINT :                              UNDER F .R .CP 2 3                                                                                                  JURY ' DEMAND : Yes Ti N o

VIII . RELATED CASE(S)
                                               (See instructions).
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FOR OFFICE ISE ONLY


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